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                                     UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig Deepwater Horizon in
the Gulf of Mexico, on April 20, 2010,                    MDL NO. 2179

                                                          Case No. 2:11‐CV‐03180
THANH HAI, INC.; TONY NGUYEN; KHANG VAN
DANG, and the more than 700 persons named                 SECTION: J
herein,
                                                          Judge Barbier
                       Plaintiffs,                        Magistrate Judge Shushan
vs.

BP AMERICA PRODUCTION COMPANY; BP
EXPLORATION AND PRODUCTION, INC.;
ANADARKO PETROLEUM CORPORATION; MOEX
OFFSHORE 2007, LLC; MOEX USA CORPORATION;
MITSUI OIL EXPLORATION CO., LTD.; TRANSOCEAN
HOLDINGS LLC; TRITON ASSET LEASING GMBH;
TRANSOCEAN DEEPWATER, INC.; TRANSOCEAN
OFFSHORE DEEPWATER DRILLING, INC.;
TRANSOCEAN LTD.; CAMERON INTERNATIONAL
CORPORATION F/K/A COOPER‐CAMERON
CORPORATION; HALLIBURTON ENERGY SERVICES,
INC.; M‐I, LLC, WEATHERFORD U.S. L.P.,

                       Defendants.


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                                   ORDER
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        Considering the foregoing Motion to Substitute Counsel of Record for Raymond S. Vath,

Rebecca Winkler Vath, and Brian Winkler, filed by Stephen S. Kreller of The Kreller Law

Firm, Gerard M. Nolting, William L. Roberts, and Craig S. Coleman of Faegre Baker Daniels,

LLP (formerly Faegre & Benson, LLP), and Duncan Lott and Casey L. Lott of Langston &

Lott, PA,



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       IT IS HEREBY ORDERED that Val Patrick Exnicios of Liska, Exnicios & Nungesser be

and hereby are substituted for Stephen S. Kreller of The Kreller Law Firm, Gerard M. Nolting,

William L. Roberts, and Craig S. Coleman of Faegre Baker Daniels, LLP (formerly Faegre &

Benson, LLP), and Duncan Lott and Casey L. Lott of Langston & Lott, PA, as counsel of

record for Plaintiffs, Raymond S. Vath, Rebecca Winkler Vath, and Brian Winkler.

       New Orleans, Louisiana, this __________ day of June, 2012.



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                                   UNITED STATES DISTRICT JUDGE




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